Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 1 of
                                     11




                                  Exhibit 7:
  Chapter 1 to I-70 East Supplemental Draft Environmental Impact
       Statement and Section 4(F) Evaluation, August 2014
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 2 of
                                     11




      Chapter 1: Introduction

      This chapter describes the history of the I-70 East project,
      including the progress made since the Draft EIS was published
      in 2008. It also summarizes the changes to the project since 2008
      and the path forward to selecting a preferred alternative
      for the corridor.

      1.1    What is the history of the I-70 East Corridor?

      Planning for I-70 started nearly 60 years ago. As part of
      the recommendation for the “Valley Highway” (I-25), it was
      determined that Denver’s major east-west thoroughfare
      should be located along 46th Avenue to the east of the
      Valley Highway and 48th Avenue to the west.

      In 1947, the City and County of Denver (Denver) formally
      requested that the 46th/48th Avenue
      corridor be designated as a state
      highway between Sheridan Boulevard
      and Colorado Boulevard. Detailed
      studies and design efforts continued in
      the 1950s and 1960s, and I-70
      construction was completed in 1964.
      The elevated section of I-70 East, from
      Brighton Boulevard to Colorado
      Boulevard, now carries approximately
      145,000 vehicles per day, providing
      east-west access for commuters,
      freight, transit, and general-purpose
      traffic.

      The aging viaduct is vulnerable to
      failure within the next 10 to 15 years,
      even with recent maintenance
      activities. In addition, by 2035, the
      corridor is projected to carry nearly                              Historic photos of 46th Avenue from
      twice as many vehicles as it was originally designed           Commemorating the Opening of the East
      for, resulting in extended congestion and impaired           46th Avenue Freeway (Interstate 70), 1964
      mobility. The uninterrupted movement of people and
      goods across I-70 through the Denver metropolitan area is
      essential to the region’s economic vitality and quality of life.




      August 2014                                                                                         1-1
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 3 of
                                     11
  Chapter 1: Introduction                                              I-70 East Supplemental Draft EIS




  1.2       What is the NEPA process?
                                                                                   History and
  NEPA requires analysis of projects with a federal nexus, such as               purpose of NEPA
  federal funding, that may significantly impact the environment.              Congress enacted
  This is done through a rigorous process that allows the public to            NEPA in December
  understand and comment on the benefits and impacts of the                    1969, and President
  project. Federal agencies are required by NEPA to prepare an                 Nixon signed it into law
                                                                               on January 1, 1970.
  EIS for major federal actions that could significantly affect the            NEPA was the first
  quality of the human and natural environment. EISs are                       major environmental
  intended to disclose the effects of a project at a stage in the              law in the United
                                                                               States. NEPA
  project where decision making can still be shaped by the                     established this
  environmental analysis and agency and public comments. This                  country’s national
  process allows decision makers to consider effects on the                    environmental policies.
  environment with other important considerations, such as need,
  feasibility, and cost.
                                                                                 What is a federal
  1.3       What is the project?                                                    nexus?
                                                                               Under federal law,
  CDOT and FHWA propose improvements to the I-70 corridor                      NEPA applies to any
  where it crosses northeast Denver, Colorado, from I-25 on the                proposed action or
                                                                               transportation project
  west to Tower Road on the east.
                                                                               that has a federal
                                                                               nexus, including, but
  The intent of the I-70 East EIS is to identify highway                       not limited to,
  improvements along I-70 by:                                                  instances where:
                                                                                   Federal funds are
           Analyzing alternatives that are intended to meet the                    involved
            project’s purpose and need, and detailing the highway                  Federal permits or
            improvement alternatives development process;                           approvals are
                                                                                    required
           Evaluating the social, economic, and environmental                     New or revised
            effects (positive and negative) of the alternatives; and                access to the
                                                                                    interstate system
                                                                                    is included
           Identifying measures to avoid, minimize, or mitigate
            negative effects.

  This EIS process began in 2003 as part of the I-70 East
  Corridor EIS, which looked at both highway and transit
  solutions. The process was initially a joint effort among several
  agencies, including CDOT, FHWA, RTD, FTA, and Denver.                            En*onmental I mpar Statement



  In June 2006, it was determined that the highway and transit
  elements of the I-70 East Corridor EIS process serve different
  travel markets, are located in different corridors, and have
  different funding sources. At this point, the highway and
  transit components of the analysis were separated.                                  ■

                                                                           1-70 EAST
                                                                           ENVIRONMENTAL ENYIRONMENTAL
                                                                           IMPACT STATEMENT impAersTATEmENT




  1-2                                                                                                 August 2014
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 4 of
                                     11
      I-70 East Supplemental Draft EIS                                               Chapter 1: Introduction



      This I-70 East Supplemental Draft EIS focuses on needed
                                                                              Lead Agencies
      highway improvements between I-25 and Tower Road and is
      being conducted by CDOT and FHWA. The EIS for the                                            Firlrefii
      transit elements in this area (East Corridor EIS) were
      completed by RTD and FTA in 2009; construction of the                Federal Highway     Colorado Department
                                                                         Administration (FHWA) of Transportation
      transit line is anticipated for completion in 2016. More                                       (CDOT)

      information on the transit elements of this corridor is                   Cooperating
      available at http://www.rtd-fastracks.com/.                                Agencies
                                                                                                    .         .
      1.4       Who has been involved in planning the                                                   411


                environmental process?                                   U.S. Army Corps of  U.S. Environmental
                                                                         Engineers (USACE) Protection Agency (EPA)
      NEPA requires that one or more lead agencies take
      responsibility for the environmental review process. For this             F TA MD
                                                                           Federal Transit    Regional Transportation
      project, FHWA is the federal lead agency and CDOT is the           Administration (FTA)      District (RTD)
      state lead agency. FHWA is providing highway design
      guidance and environmental oversight. CDOT is leading the
      highway design efforts and development of the EIS. The lead
      agencies also closely consider public comments on the project.
                                                                                         •
                                                                               Colorado Department of Public
                                                                              Health and Environment (CDPHE)



      Staff from the affected jurisdictions and representatives of
                                                                             What happened
      state and federal resource agencies provide advice and
                                                                                after the
      recommendations to the lead agencies about the scope and
                                                                             2008 Draft EIS?
      content of environmental analysis. These “cooperating
      agencies” are defined under NEPA as other agencies with                Lack of public support
      jurisdiction by law or special expertise over evaluated                on any of the Draft EIS
      resources (42 United States Code [USC] §§ 4331[a] and                       alternatives
      4332[2]).                                                                 Failed to reach a
                                                                               consensus with the
      1.5       Why did CDOT and FHWA prepare a                               Preferred Alternative
                Supplemental Draft EIS?                                        Collaborative Team
                                                                                 (PACT) process
      According to NEPA, an agency must prepare a Supplemental
      Draft EIS when:
                                                                              Revisited previously
               The agency makes substantial changes in the                        eliminated
                proposed action that are relevant to environmental                alternatives
                concerns; or                                                     Developed and
                                                                                  modified the
               There are significant new circumstances or                       alternatives to
                information relevant to environmental concerns and             address public and
                bearing on the proposed action or its impacts (40 Code         agency concerns to
                                                                               the extent possible
                of Federal Regulations [CFR] §1502.9[c][1]).

      The Supplemental Draft EIS allows the alternatives
      evaluated since the release of the 2008 Draft EIS, which are                Prepared a
      different from those studied in the 2008 Draft EIS, to be fully        Supplemental Draft EIS
      documented and analyzed.




      August 2014                                                                                                 1-3
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 5 of
                                     11
  Chapter 1: Introduction                                            I-70 East Supplemental Draft EIS



  This document also contains additional design detail and                     Where can I find
  analysis items, including a new Build Alternative. Also, the               the 2008 Draft EIS?
  Realignment Alternatives have been eliminated and a preferred
                                                                             The 2008 Draft EIS is
  alternative has been preliminarily identified. By incorporating            available online at the
  these changes, this document allows agencies, stakeholders, and            project website,
  the public to review and comment on the changes before a final             www.I-70east.com, or
                                                                             by request to one of
  decision is made.
                                                                             the agency
                                                                             representatives listed
  This document does not replace the 2008 Draft EIS. Instead, it             in the abstract of this
  addresses the same topics as the 2008 Draft EIS and updates the            document. It can also
                                                                             be found at all viewing
  data and analysis. Although this document addresses issues
                                                                             locations for the
  raised by comments received during and since the comment                   document, these
  period on the 2008 Draft EIS, a comment-by-comment response                locations are listed on
  is not provided.                                                           the project website.


  1.6      What has happened since the 2008 Draft EIS?

  Many changes have occurred within the I-70 East corridor and
  the state of Colorado since the release of the 2008 Draft EIS. The
  following changes have affected this process and are addressed
  in this document.

  1.6.1    Major projects completed along or near the corridor
  The transportation system near the project has changed since
  the 2008 Draft EIS. The East Corridor rail line is currently
  under construction and planned for completion in 2016. This
  project improves transportation access and mobility in the area
  with connections to downtown Denver, DIA, and the rest of the
  RTD transit system.

  A new interchange opened in 2012 at Central Park Boulevard on
  I-70. Located within the Stapleton Redevelopment Area, the
  Central Park Boulevard interchange provides additional I-70
  access and a connection to Central Park Boulevard, a
  north/south arterial through the Stapleton Redevelopment area.

  The East Corridor rail line and the Central Park Boulevard
  interchange are included as existing conditions within this
  document. Both projects are considered in the evaluation of
  alternatives.

  1.6.2    Changes in community and environmental resources
  The I-70 East EIS was initiated in 2003 and the initial data
  collection started as early as 2003/2004 to identify the purpose
  and need for the project and alternatives. The 2008 Draft EIS
  included all the available data from the project initiation
  through the publication date; however, some data, such as the
  social and economic data from the U.S. Census Bureau, dated
  back to 2000.


  1-4                                                                                    August 2014
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 6 of
                                     11
      I-70 East Supplemental Draft EIS                                     Chapter 1: Introduction



      All resources originally considered were re-evaluated to
      determine if there were any changes to the original data or if the
      data still represent corridor conditions and provide a reasonable
      baseline to analyze the environmental impacts. All the resources
      also were revisited to determine if there has been a new law or
      regulation associated with a specific resource since the
      publication of the 2008 Draft EIS.

      The data and analysis were updated based on the most recent
      available information and the most recent regulations. For
      example, social, economical, and environmental justice resources
      were updated with the 2010 Census data. Land uses, wetlands,
      and biological resources were verified through field surveys to
      confirm the validity of available data. The updated data did not
      substantially change the social and environmental
      characteristics of the project area.

      1.6.3   How alternatives are defined
      The 2008 Draft EIS evaluated Alternatives 1, 3, 4, and 6.
      Alternatives 1 and 3 were located along the existing highway
      alignment and Alternatives 4 and 6 were located along the
      realignment. Alternatives 1 and 4 added capacity with general-
      purpose lanes, while Alternatives 3 and 6 added tolled-express
      lanes.

      As the project progressed, the alternatives were redefined to
      reflect their design rather than a numerical identifier.
      Alternative 1 was refined to develop the Revised Viaduct
      Alternative and Alternatives 4 and 6 (Realignment Alternatives)
      were eliminated. Alternative 3 was redefined as the Managed
      Lanes Option to the Build Alternatives.

      A new alternative has been added to this document. Called the
      Partial Cover Lowered Alternative, this idea was revisited and
      revamped based on a previously eliminated alternative. Exhibit
      1-1 shows the 2008 Draft EIS alternatives compared to the
      alternatives analyzed in this document. More detail on all the
      alternatives is available in Chapter 3, Summary of Project
      Alternatives.




      August 2014                                                                             1-5
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 7 of
                                     11
  Chapter 1: Introduction                                                   I-70 East Supplemental Draft EIS



  Exhibit 1-1.           2008 Draft EIS alternatives compared to Supplemental Draft EIS
                         alternatives

        2008 Draft EIS Alternatives                  Supplemental Draft EIS Alternatives


                     I EXISTING


                                                                               Partial Cover Lowered
                                                                               Alternative
                kg
                     3 EXISTING, TOLLED
                                          J

                                                                Now an option to
                                                                Build Alternatives
                     R                                   pi.
        Eliminated
                                                               Managed Lanes Option
                     REALIGNED, TOL
                                                                                      }




  1.6.4     Preliminarily identifying the Preferred Alternative
  NEPA allows lead agencies to preliminarily identify a preferred
  alternative at the Draft EIS stage or to wait until the Final EIS
  is published. The 2008 Draft EIS did not identify a preferred
  alternative. FHWA and CDOT have preliminarily identified the
  Partial Cover Lowered Alternative with Managed Lanes Option
  as the Preferred Alternative in this document. Chapter 3,
  Summary of Project Alternatives, includes additional detail on
  this decision.

  1.7       How were comments on the 2008 Draft EIS
            addressed?

  Consistent themes emerged from the comments received on the
  2008 Draft EIS. CDOT modified and revised the content of the
  document in response to these comments. The following updates
  were made based on the common concerns expressed by the
  public, which influenced the approach to identify a preferred
  alternative:

           The air quality analysis approach goes beyond federal
            requirements in several areas.

           Additional mitigation measures have been included to
            address environmental justice concerns.

           Additional detail is provided on community impacts and
            neighborhood cohesion.

           Available funding is identified, and an anticipated
            construction schedule is discussed along with a brief
            discussion on how the project may be phased.


  1-6                                                                                            August 2014
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 8 of
                                     11
      I-70 East Supplemental Draft EIS                                       Chapter 1: Introduction



               Anticipated environmental impacts on resources are
                included. Each resource section in Chapter 5, Affected
                Environment, Environmental Consequences, and
                Mitigation, also discusses impacts anticipated during
                construction.
               In response to questions about mitigation commitments
                made in the 2008 Draft EIS, information has been
                incorporated about mitigation strategies and planned
                processes for determining how these strategies are
                incorporated into construction activities.

      Commenters who believe that comments made on the 2008 Draft
      EIS are still valid and were not addressed may resubmit
      comment(s) regarding this document during the comment period.
      Responses to comments on this document will be provided in the
      Final EIS.

      1.8       What resulted in re-evaluation of the alternatives?

      CDOT committed to identifying the Preferred Alternative in
      partnership with the corridor communities and stakeholders
      during the public hearings on the 2008 Draft EIS. CDOT began
      a collaborative process with the formation of the PACT for the
      I-70 East EIS in July 2010. Comprised of state and federal
      agencies, advocacy groups, and stakeholders—including
      neighborhood representatives from Adams County, Aurora,
      Commerce City, and Denver. The PACT’s goals were to:

               Build mutual understanding of all interests, data, and
                concerns about the alternatives identified in the 2008
                Draft EIS.
               Agree upon and recommend a preferred alternative that
                satisfied the most interests, best addressed all concerns,
                and met the purpose and need of the project.

      Recommending a preferred alternative was a challenging task.
      As PACT members describe it, there were no perfect solutions;
      there were tough trade-off choices to make and there were
      impacts to different resources with every alternative. After many
      discussions, open dialogues, and public input, the PACT
      recommended the Current Alignment Alternative as their
      preferred, but was unable to reach consensus on if the
      alternative should shift to the north or south from Brighton
      Boulevard to Colorado Boulevard. This preference is described in
      more detail in Chapter 3, Summary of Project Alternatives.

      Based on the outcomes of various outreach activities and the
      PACT process, CDOT and FHWA re-examined the previously



      August 2014                                                                               1-7
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 9 of
                                     11
  Chapter 1: Introduction                                           I-70 East Supplemental Draft EIS



  eliminated alternatives. This resulted in the development of a
  new alternative called the Partial Cover Lowered Alternative.

  1.9      What happens after the Supplemental Draft EIS?

  CDOT will continue to refine the mitigation measures based on
  public input and ongoing coordination with agencies that have
  special expertise and jurisdiction over specific resources. The
  results of these additional analyses, including work done to
  refine the Preferred Alternative, will be incorporated into the
  Final EIS, which is planned for publication in 2015. The Final
  EIS will include all comments received about the Supplemental
  Draft EIS during the public comment period, along with
  responses to those comments.

  The final step in the NEPA process is the preparation of a
  Record of decision (ROD) that will document FHWA’s decision
  for the project. The ROD will identify funding for the approved
  action consistent with the fiscally constrained section (Fiscally
  Constrained Regional Transportation Plan [RTP]) of the Denver
  Regional Council of Governments (DRCOG) 2035 Metro Vision
  Regional Transportation Plan (MVRTP)(2007b).

  During Final EIS development, a phased ROD will be
  considered, which will allow CDOT to fund and implement
  elements of the Preferred Alternative over an extended period.

  1.10     When will the project be built?

  Funding constraints may limit the ability to fully construct the
  Preferred Alternative at one time. Pending the completion of this
  EIS process, construction for the highway between Brighton
  Boulevard and Colorado Boulevard is anticipated to begin in
  2016, after project permits are received. The Partial Cover
  Lowered section of highway between Brighton Boulevard and
  Colorado Boulevard could open to traffic in 2020. If full funding
  is available, the rest of the project could be completed by 2030.

  1.11     How can I be involved, and how will CDOT
           communicate with the public?

  The best way to be involved in project decision making is to
  comment on this document. There are several ways to provide
  comments.




  1-8                                                                                  August 2014
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 10
                                    of 11
     I-70 East Supplemental Draft EIS                                            Chapter 1: Introduction



            Attend a public hearing on the Supplemental
             Draft EIS. CDOT will hold public hearings on               How to Stay Involved
             September 23, 24, and 25, 2014. They will          Attend the public hearings
             include exhibits about the project, team
             members to answer questions, and the                        September 23, 2014
                                                                          Sable Elementary School
             opportunity to comment in writing, on a
                                                                          2601 Sable Boulevard
             computer, by talking into a microphone in front              Aurora, CO 80011
             of peers, which is recorded by a court reporter,
             or speaking to a private recorder.                          September 24, 2014
                                                                          Kearney Middle School
                                                                          6160 Kearney Street
            Use the Web to comment. CDOT has posted                      Commerce City, CO 80022
             links to the full text of this document on the
             project website at www.i-70east.com. You can                September 25, 2014
             make comments on this document by                            Bruce Randolph Middle
             submitting a form through the website.                       School
                                                                          3955 Steele Street
                                                                           Denver, CO 80205
            Provide written comments by e-mail. Comments
             can be submitted through e-mail at                 Contact the I-70 East project team
             contactus@i-70east.com. The comment period
             ends on October 14, 2014.                                   2000 South Holly Street
                                                                          Denver, CO 80222
                                                                          303.757.9413
            Provide written comments by mail. You can                    contactus@i-70east.com
             write comments and mail them (postmarked by
             October 14, 2014) to: Colorado Department of       Join the mailing list or submit
                                                                comments electronically
             Transportation, in care of Peter Kozinski, at
             2000 South Holly Street, Denver, CO 80222.                  www.i-70east.com

     After the comment period has closed, CDOT will
     continue to keep the public informed about decision making and
     opportunities for input. If you provide your name and address
     when you comment, the project team will add you to the project
     mailing list, which allows you to receive regular updates. If you
     have no comments on this document but would still like to stay
     informed, you may join the mailing list by logging onto the
     project website at www.i-70east.com or by calling the project
     hotline at 303-757-9413.




     August 2014                                                                                     1-9
Case No. 1:17-cv-01661-WJM-MEH Document 96-7 filed 12/06/17 USDC Colorado pg 11
                                    of 11
 Chapter 1: Introduction                                         I-70 East Supplemental Draft EIS




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 1-10                                                                               August 2014
